                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           SOUTHERN DIVISION AT LONDON
                                  (Electronically Filed)

APPALACHIAN REGIONAL                          )
HEALTHCARE, INC.                              )
                                              )
        Plaintiff,                            )    CASE NO. 6:19-CV-00038-GFVT
                                              )
V.                                            )
                                              )
PURDUE PHARMA L.P., ET AL.                    )
                                              )
        Defendants.
                                              )
                                              )
                                              )

     NOTICE OF FILING SUPPLEMENT TO STATE COURT RECORD EVIDENCING
             PROPOSED AGREED ORDER FOR EXTENSION OF TIME

        Defendant Cardinal Health, Inc. hereby supplements the state court record by filing the

attached proposed Agreed Order for Extension of Time, which was filed and tendered on

February 6, 2019 with the Perry Circuit Court (Exhibit A). The Agreed Order for Extension of

Time was filed on behalf of the Defendants listed in the proposed order, including Cardinal

Health, Inc. and AmerisourceBergen Drug Corporation, and upon agreement of the parties, gave

the Defendants through March 22, 2019 within which to answer, move, or otherwise serve a

response to Plaintiff’s Complaint.
                                                 Respectfully submitted,

                                                 /s/Steven B. Loy
                                                 Steven B. Loy
                                                 Perry M. Bentley
                                                 Monica H. Braun
                                                 Stoll Keenon Ogden PLLC
                                                 300 West Vine Street, Suite 2100
                                                 Lexington, KY 40507-1801
                                                 Telephone: (859) 231-3000
                                                 Fax: (859) 253-1093
                                                 steven.loy@skofirm.com
                                                 perry.bentley@skofirm.com
                                                 monica.braun@skofirm.com
                                                 Counsel for Defendant Cardinal Health, Inc.


                               CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2019, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system which shall automatically serve all counsel of
record. In addition, the following were mailed copies via U.S. Mail, postage prepaid:

R. Eric Mills
MILLS LAW GROUP
P.O. Box 2057
Inez, Kentucky 41225

John W. (“Don”) Barrett
Sterling Starns
David McMullan, Jr.
Richard Barrett
BARRETT LAW GROUP, P.A.
P.O. Box 927
404 Court Square North
Lexington, MS 39095

Warren Burns
BURNS CHAREST, LLP
900 Jackson St., Suite 500
Dallas, Texas 75202

Korey A. Nelson
Lydia A. Wright



                                           2
Rick Yelton
BURNS CHAREST, LLP
365 Canal Street, Suite 1170
New Orleans, LA 70130

Jonathan W. Cuneo
Monica Miller
David Black
Evelyn Li
CUNEO GILBERT & LADUCA, LLP
4725 Wisconsin Avenue, NW, Suite 200
Washington, DC 20016

Steve Martino
TAYLOR MARTINO, P.C.
51 St. Joseph St.
Mobile, AL 36602

Mark S. Cheffo
Hayden A. Coleman
DECHERT LLP
Three Bryant Park
1095 Avenue of the Americas
New York, NY 10036-6797
Counsel for Purdue Pharma L.P.,
Purdue Pharma Inc.; and The
The Purdue Frederick Company Inc.

Steven A. Luxton
MORGAN, LEWIS & BOCKIUS LLP
1111 Pennsylvania Avenue, NW
Washington, DC 20004-2541

Steven A. Reed
MORGAN, LEWIS & BOCKIUS LLP
1701 Market Street
Philadelphia, PA 19103-2921

Counsel for Teva Pharmaceutical Industries Ltd.,
Teva Pharmaceuticals USA, Inc., Cephalon, Inc.,
Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.,
Actavis LLC and Watson Laboratories, Inc.

John A. McCauley
James K. O’Connor
VENABLE LLP
750 East Pratt Street, Suite 900


                                          3
Baltimore, MD 21202
Counsel for Abbott Laboratories and
Abbott Laboratories Inc.

Christopher M. Mussler
GWIN, STEINMETZ & BAIRD, PLLC
401 West Main Street, Suite 1000
Louisville, KY 40202

J. Matthew Donohue
Joseph L. Franco
HOLLAND & KNIGHT LLP
2300 U.S. Bancorp Tower
111 S.W. Fifth Avenue
Portland, OR 97204

Counsel for INSYS Therapeutics, Inc.

Brien T. O’Connor
Andrew J. O’Connor
ROPES & GRAY LLP
800 Boylston Street
Boston, MA 02199
Counsel for Mallinckrodt LLC and SpecGX LLC

Jeffrey F. Peck
Thomas G. McIntosh
ULMER & BERNE LLP
600 Vine Street, Suite 2800
Cincinnati, OH 45202
Counsel for Amneal Pharmaceuticals LLC

C. Scott Jones
LOCKE LORD LLP
2200 Ross Avenue, Ste. 2800
Dallas, TX 75201

Robert C. “Coley” Stilz III
KINKHEAD & STILZ
PNC Tower
301 East Main Street, Suite 800
Lexington, KY 40507
Counsel for Henry Schien, Inc.

Scott Powers
BAKER BOTTS LLP



                                         4
98 San Jacinto Blvd, Ste. 1500
Austin, TX 78701
Counsel for Depomed Inc. n/k/a
Assertio Therapeutics, Inc.

Daniel E. Murner
Elizabeth J. Winchell
LANDRUM & SHOUSE LLP
106 West Vine Street, Suite 800
Lexington, KY 40507
Counsel for Defendant AmerisourceBergen
Drug Corporation

Charles C. Lifland
O’Melveny & Myers LLP
400 S. Hope Street
Los Angeles, CA 90071
Counsel for Defendants Johnson & Johnson;
Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen
Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals,

Donna Welch, PC
Martin L. Roth
Timothy Knapp
KIRKLAND & ELLIS LLP
300 North LaSalle
Chicago, IL 60654

Jennifer G. Levy PC
KIRKLAND & ELLIS LLP
655 Fifteenth Street, NW
Washington DC 20005

Counsel for Allergan PLC f/k/a Actavis PLC
and Allergen Finance LLC f/k/a Actavis, Inc.
f/k/a Watson Pharmaceuticals, Inc.

John D. Lombardo
Arnold & Porter Kaye Scholer LLP
777 S. Figueroa Street
44th Floor
Los Angeles, CA 90017
Counsel for Endo Health Solutions, Inc. and
Endo Pharmaceuticals, Inc.

Anda, Inc.
2253 E. BENNETT ST.


                                           5
SPRINGFIELD, MO 65804

W. Kennedy Simpson
Thompson, Miller & Simpson, PLC
734 W. Main Street
Suite 400
Louisville, KY 40202
Counsel for H.D. Smith, LLC

Ace Clinique of Medicine LLC
c/o JAMES A. CHANEY, M.D.
181 ROY CAMPBELL DR.
HAZARD, KY 41701

The Recovery Center, LLC
c/o Robert Jack Duncan
1550 Hwy 15 S., Ste 200
Jackson, KY 41339




                                      /s/Steven B. Loy
                                      Counsel for Defendant Cardinal Health, Inc.


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